Case 1:04-cv-OllO7-.]DT-STA Document 19 Filed 06/16/05 Page 1 of 2 Page|D 24

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FoR THE WESTERN DlsTRICT or TENNESSEE “H/ 9
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GEORGE GORI)ON, ) Q¢ x Q&z,y/p § 5
) ppg @@;Q/é:}
Plaintiff, ) -4§{,§'. C/\
) {Qt’
v. ) No.: 04-1107-T/An
)
QUENTON leTE, et al., )
)
Defendants. )

 

RULE 16(b) SCHEDULING ORDER

 

After a review of the pleadings in this case, the court has determined that this order
should be entered for the purposes of scheduling dates for the completion of certain pre-trial

activities; the following dates are established as the final dates for:

FILING MOTIONS TO .]OIN PARTIES: September 15, 2005
FILING MOTIONS TO AMEND PLEADINGS: September 15, 2005
COMPLETING ALL DISCOVERY: November 18, 2005

pursuant to Rules 26-35 and Rule 37
of the Federal Rules of Civil Procedure

FILING PRE-TRIAL MOTIONS of any kind
including Motions for Summary Judgment: December 16, 2005

This order will not be modified except upon showing of good cause.

IT IS SO ORDERED. ,.---

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date:§l¢¢€ /~{ 200(

 

Thls document entered on the docket sheet ln compliance

with Ru!e 58 and,'or`?Q (a} FHCP on OLO ' ij '§ §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01107 was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

